     Case 1:25-cv-01270-ACR   Document 31-1   Filed 05/22/25   Page 1 of 15




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


ROBERT F. KENNEDY HUMAN RIGHTS
et al.,

            Plaintiffs,

v.                                       Case No. 25-1270

U.S. DEPARTMENT OF HOMELAND
SECURITY et al.,

            Defendants.



                          DECLARATION OF BRIAN DOE
     Case 1:25-cv-01270-ACR           Document 31-1         Filed 05/22/25     Page 2 of 15




       I, Brian Doe, declare as follows:

       1.      I am over the age of 18 and competent to testify to the matters described below. I

am submitting this declaration under a pseudonym, as I am currently an employee of the Office

of the Immigration Detention Ombudsman (OIDO) within the Department of Homeland Security

(DHS) and am concerned about potential retaliation.

       2.      On May 21, 2025, I received an email from WorkforceShapingHQ@hq.dhs.gov

with several attachments related to my impending separation date of May 23. One of these

documents was a list of Frequently Asked Questions. Each page of that FAQ document had a

date of May 2025. Attached as Exhibit 1 is a true and correct copy of the email and the FAQ

document.

       3.      I had heard from colleagues about the testimony given in court by Ronald Sartini

on May 19 that OIDO, along with CRCL and CISOM, was not being abolished as we had been

earlier told but was simply being reorganized. In light of that testimony, I was surprised to see

the answer to Q44 on the FAQ document, which stated: “For the purposes of the RIF of

CISOMB, CRCL and OIDO, there are no reassignment opportunities as the entirety of the

offices were eliminated.”




I declare under penalty of perjury under the laws of the United States of America, pursuant to 28
U.S.C. § 1746, that the foregoing is true and correct to the best of my knowledge.

Executed on May 22, 2025.
                                                      /s/      BRIAN DOE




                                                 1
             Case 1:25-cv-01270-ACR             Document 31-1         Filed 05/22/25       Page 3 of 15




DHS Separation Information
Workforce Shaping HQ <WorkforceShapingHQ@hq.dhs.gov>                                      Wed, May 21, 2025
To: Workforce Shaping HQ <WorkforceShapingHQ@hq.dhs.gov>

 Please see the information below and documents attached for information regarding your separation from DHS.

 EMPLOYEES SEPARATING VIA WORKFORCE TRANSITION or REDUCTION IN FORCE

 FINAL SALARY PAYMENT
 Your final date of salary payment will be the effective date of your separation from federal service. For example, if
 your separation date is May 23, 2025, your final payment will be issued on the first Friday of week 1 in Pay Period 10
 CY2025. Please note that this will be a partial payment since you will have only worked one week, and no leave will be
 accrued if separation occurs in the middle of a pay period. Leave is only accrued when a full 80-hour pay period is
 completed. Employees with later separation dates will receive their final pay in accordance with the current pay
 schedule, depending on the specific date and pay period of separation.

 ANNUAL LEAVE PAY
 For all employees separating from federal service, you can expect to receive a lump sum payout of your annual leave
 within 2-4 weeks of your separation date. Annual leave payouts will be deposited separately from final salary
 payments.

 e-OPF ACCESS
 If you were unable to download your eOPF documents prior to the termination of your network access, please email
 eopfrequest@HQ.DHS.GOV for assistance. Please note, you will not need to email to request your separation SF-
 50. This will be sent to the personal email address we have on file once it is processed.

 EPP ACCESS
 NFC is making a temporary change to EPP. By the end of this week, employees accessing EPP with a User
 ID/Password combination will no longer have access to change their banking information. They will be able to
 make other pay changes. Banking information for Direct Deposit and Financial Allotments can be made if the
 employee logs in with their PIV card.

 Individuals should safeguard their EPP account information by taking the following measures:
        Only access EPP using:
                https://www.nfc.usda.gov/EPPS/
                The Applications Launchpad on NFC’s home page: www.nfc.usda.gov
                DHS Connect home page (application icons are located at the very bottom of the page)
        Utilize PIV logon (or Login.gov for separated employees) as the primary means to access EPP.
        Employees who have been accessing via User ID and password should change both immediately.
        Frequently review financial data and Earnings and Leave Statements to detect any fraudulent deductions.
        Never use any other URL than those listed above – all NFC web-based systems will end in .gov.


 OBTAINING COBRA HEALTH INSURANCE
 For employees wishing to continue their health insurance coverage beyond the free 31-day extension beyond their
 separation date, they should complete the SF-2809 Health Benefits Election Form attached to this message and email
 it to ochco-hrms-benefits@hq.dhs.gov within 60 days of separation.

 RETURNING FEDERAL PROPERTY
            Case 1:25-cv-01270-ACR              Document 31-1          Filed 05/22/25       Page 4 of 15
Staff local to the NCR should have returned their government furnished equipment, including laptops, cell phones,
MiFi, IC badges, RSA tokens, and B LAN devices to DHS CIO. Remote employees were also provided with label to
return their equipment. If you have not received your shipping materials, please contact the Help Desk at 1-800-250-
7911 and request to reopen a Return Hardware Ticket. If you possess a travel card or purchase card, you may shred
them and contact FO-Travel@hq.dhs.gov to inform them to close your account(s).


REDUCTION IN FORCE IMPACTED EMPLOYEES ONLY

SEVERANCE PAY
Employees separating via Workforce Shaping and eligible for severance may also anticipate bi-weekly payments to
commence within 2-4 weeks. Please note that NFC is currently receiving an extremely high volume of actions and
processing times may vary as a result. This payment will be separate from your annual leave payout and final salary
payment. If you do not receive your first severance payment within 4 weeks of your separation, please send an email
to: workforceshapingHQ@hq.dhs.gov.

Severance payments are terminated if the recipient is employed by the Federal government or the government of the
District of Columbia (to include the U.S. Postal Service) —unless employed under a nonqualifying time-limited
appointment. If the recipient accepts a nonqualifying, time-limited appointment, the payments will be suspended
during the life of the appointment and are resumed when the appointment ends. The recipient must notify DHS
Headquarters at eopfrequest@hq.dhs.gov if they become employed by either the Federal government or the
District of Columbia. If an individual entitled to severance pay is employed by the Federal Government or the
government of the District of Columbia under a nonqualifying time-limited appointment, severance pay is suspended
during the life of the appointment but resumes (without being recomputed) when the employee separates from the
nonqualifying time-limited appointment.

RE-EMPLOYMENT PRIORITY LIST (RPL)
What is it?
When DHS cannot fill a position from the current workforce, it is required to determine if an RPL registrant is available
within the commuting area of that position. Recruiters review the RPL and request resumes of registrants who may be
well-qualified and indicated interest in the series and grade being recruited.
 All well-qualified registrants will be reviewed for each recruitment in the commuting area, and interviews may be
conducted. Selection priority is given to RPL candidates before additional recruitment activities continue.

How do I get on the RPL?
If you’ve already submitted the form that was attached in your RIF package, as well as your updated resume, you’re
on the list! If you haven’t completed one or either of these steps, please do so as soon as possible. The RPL Request
Form is attached to this email. You will receive a confirmation email from the Workforce Shaping Team once all of
your documents have been received and processed.
 If you would like additional information on RPL, please visit: The Employee's Guide to Career Transition

FILING EMPLOYMENT
Employees separating for reasons that are no fault of their own may be entitled to unemployment benefits. To help
expedite your claim, we are providing the attached SF-8 form for processing by your state’s unemployment office.

WORKFORCE SHAPING EMAIL
Please note that the workforceshapinghq@hq.dhs.gov email box will only be monitored for 30 days following the
final reduction in force separation.


WORKFORCE TRANSITION IMPACTED EMPLOYEES ONLY

WTP AGREEMENT
Consideration Period
            Case 1:25-cv-01270-ACR              Document 31-1         Filed 05/22/25       Page 5 of 15
Employees over the age of 40 are entitled to 45 calendar days from the issuance of the WTP agreement to accept and
execute the agreement.

Signed and Approved Participation Agreement
You may choose to participate in the WTP and execute the agreement before the expiration of the 45-day period.
Once your participation in WTP has been approved, you will be placed on administrative leave until you separate from
federal service.
The period between the date you are placed on administrative leave and the date of your voluntary resignation from
DHS is called the transition period. During the transition period, you will continue to receive full salary and benefits
(i.e., including but not limited to Thrift Savings Plan (TSP) contributions, Federal Employee Health Benefits (FEHB),
and/or any other similar benefits (Federal Employees Group Life Insurance (FEGLI)) with DHS making the
Government’s contribution.

Cancellation Period
After you have signed the WTP agreement, you may cancel your participation in WTP within seven (7) calendar days
of signing the agreement. Upon cancellation of your WTP agreement, as an employee reached for a RIF, you will be
immediately subject to the specific RIF notice that was effective as of March 21, 2025. At such time, you will be
separated from federal service.

Severance Pay Eligibility
Please note that if you were informed of your eligibility for severance pay because you were subject to a specific RIF
notice, however you are ineligible for severance pay upon approval of your participation in the WTP.


HEATHER ZAWALICK
Senior Advisor / Deputy, Employment Services Management
U.S. Department of Homeland Security
Office of the Chief Human Capital Officer (OCHCO)
Human Resources Management and Services (HRMS)
WorkforceShapingHQ@hq.dhs.gov


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4 attachments
    DHS_Reduction in Force_FAQs 15MAY25.pdf
    264K
    SF 2809.pdf
    1793K
    DHS RPL Registration Form.pdf
    713K
    SF-8 - 2024.pdf
    28K
     Case 1:25-cv-01270-ACR           Document 31-1        Filed 05/22/25     Page 6 of 15

                         FY25 Reduction in Force FAQs
                                             May 2025

OUTSIDE EMPLOYMENT

Q1. Please provide contact information for the Ethics Office regarding engaging in other
    employment.
A1. If you have any questions regarding outside employment, please contact
    EthicsOfficeHQ@hq.dhs.gov or reference additional information provided at Prior Approval
    Exemption for Certain Outside Employment Activities for DHS HQ and CISA Employees.


Q2. If an employee finds a private sector job prior to their separation date, is it considered
    resigning from the US Government vs being “RIFed”?
A2. Yes, if you accept employment and are released prior to the effective date of separation, it is
    considered a voluntary resignation. If you are eligible for severance pay and resign versus being
    involuntarily separated (“RIFed”), you will forfeit your eligibility to receive the severance pay
    benefit.


BENEFITS

RETIREMENT

Q3. Where can employees find additional information on postponed and deferred retirement if
    they haven’t reached the minimum retirement age (MRA)?
A3. A former FERS employee with at least 10 years of Federal service may elect to receive deferred
    retirement as early as their minimum retirement age (MRA). A former FERS employee with at
    least 5 years of civilian service may elect to receive deferred retirement at age 62. To qualify for
    deferred retirement, individuals must leave their retirement contributions in the retirement
    fund (that is, they do not request a refund). Former employees apply directly to OPM for a
    deferred retirement. The OPM Deferred Retirement webpage links to the Application for
    Deferred or Postponed Retirement (RI 92-19) and instructions on how to complete the
    application (RI 92-19A).



Q4. If an employee elects to work until their RIF separation date, what date does retirement
    start? When will annuity payments for retirement begin?
A4. The annuity start date will be the first day of the month following separation unless you
    separate via Discontinued Service Retirement (DSR) which begins annuity the next day.
    Although you may begin receiving interim payments while OPM completes your annuity
    package, OPM is currently reporting 3-5 months on average for processing of final packages and
    payments. Retirement Statistics
     Case 1:25-cv-01270-ACR          Document 31-1       Filed 05/22/25      Page 7 of 15

                        FY25 Reduction in Force FAQs
                                            May 2025
Q5. Describe some of the differences between VERA and DSR.
A5. DSR is a retirement option made available after notification of involuntary separation, which
    may allow you to be eligible for unemployment benefits based on your individual state
    regulations. Under DSR, your annuity begins to accrue the day after separation. Voluntary Early
    Retirement Authority (VERA) is a special program authorized by the Office of Personnel
    Management (OPM) that allows eligible federal employees to retire early during periods of
    workforce restructuring, downsizing, or reorganization. Commonly referred to as "early out
    retirement," employees may voluntarily retire with an immediate annuity before they would
    otherwise be eligible and annuity accruals would begin the day after separation. The key
    differences come into play when/if you ever return to work for the Federal government, e.g., as
    a VERA retiree, you would be a reemployed annuitant with the amount of your pay offset by
    the amount of your annuity. If you were covered under the Civil Service Retirement System
    (CSRS) and you separated under a DSR, you would not be considered a reemployed annuitant
    because your annuity will stop, so there would be no offset to pay. This does not apply to those
    covered under FERS.


Q6. When are retirement packets due to the HRMS Benefits team?
A6. You may submit your retirement package as soon as you select your retirement date. Please
    email the HRMS Benefits Team at ochco-hrms-benefits@hq.dhs.gov for further assistance if you
    no longer have network access.


Q7. If you are eligible for full retirement, can you still elect to be separated via
Discontinued Service Retirement (DSR)?
A7. Yes, applicants under the age of 62 may elect to apply under DSR if eligible for regular/voluntary
    retirement.


Q8. Is there a penalty for Discontinued Service Retirement?
A8. No. However, if you retire at the MRA with at least 10, but less than 30 years of service, your
    benefit will be reduced by 5 percent a year for each year you are under 62, unless you have 20
    years of service, and your benefit starts when you reach age 60 or later.


Q9. How may I determine how much is in my federal retirement fund outside of TSP accounts?
A9. For a full retirement estimate outside of government furnished access, please contact the
    HRMS Benefits Team at ochco-hrms-benefits@hq.dhs.gov.


Q10. Can employees extend insurance into retirement, and if so, for how long?
A10. If you retire under an immediate annuity, your FEHB coverage can be continued if you were
     enrolled in the FEHB Program (or covered as a family member on another FEHB enrollment) for
     the 5 years of service immediately preceding retirement, or – if less than 5 years – for all
     periods of eligibility since your first opportunity to enroll. If you are covered by FEHB at
     retirement, the 5-year rule includes time covered under TRICARE, CHAMPUS, or CHAMPVA.
     Case 1:25-cv-01270-ACR          Document 31-1       Filed 05/22/25     Page 8 of 15

                        FY25 Reduction in Force FAQs
                                            May 2025
     As a retiree, you’ll have the same health plan choices and pay the same share of the costs for
     health insurance as active employees do. Your share of the FEHB premium will be deducted
     from your annuity payments. If your annuity is not large enough to cover the premiums, you
     can change to a lower-cost plan or option (one in which the share of the premium is low
     enough to be withheld from your annuity) or can choose to pay the premiums directly to the
     Office of Personnel Management (OPM). Contact the HRMS Benefits Team at ochco-hrms-
     benefits@hq.dhs.gov if you have questions about your FEHB enrollment.


Q11. What is the process to request a deferred resignation or voluntary early retirement
     (VERA)?
A11. The Deferred Resignation Program (DRP) as well as the Voluntary Early Retirement
     Authority (VERA) were time-limited Workforce Transition Programs (WTP) offered to DHS
     employees in the spring of 2025 and the DHS WTP opt-in windows are now closed. If the
     employee did not ‘opt-in’ during the open windows, they cannot request either option.


HEALTH INSURANCE/ FEHB

Q12. FEHB medical benefits will be extended for 31 days following separation, with the
     option to extend for up to 18 months - does this extension apply to dental and
     vision coverage as well?
A12. Your dental and/or vision insurance coverage will terminate as of your date of separation.
     Under FEDVIP, former employees do not have an extension of coverage, an option to convert
     to a private policy, or temporary continuation options. However, you may elect to continue
     your dental and vision insurance coverage if you are separating via retirement.

Q13. May employees extend FEHB insurance coverage beyond their separation date if
     they are not retiring?
A13. Unless your separation is involuntary due to gross misconduct, you may continue your FEHB
     coverage under Temporary Continuation of Coverage (TCC) for up to 18 months after your
     separation instead of converting to an individual contract. You may enroll in any plan for
     which you are qualified. (Some plans require that enrollees live in a certain geographic area.)
     If you enroll in an FEHB plan under the TCC option, you must pay the full amount of the
     premium (both the employee and Government shares) plus a 2 percent administrative
     charge.

      Your TCC enrollment and premium charges begin on the day after the 31- day extension of
      coverage ends. If you continue TCC to the end of the 18-month period, you will have another
      31-day extension of coverage with opportunity for conversion to an individual contract.
      Review OPM’s Temporary Continuation of Coverage (TCC) online pamphlet for additional
      information. OPM’s FEHB Plan Comparison website can be used to explore plan options and
      costs (under the Enrollee Type, select the option for Temporary Continuation of Coverage
      (TCC) Enrollee).
     Case 1:25-cv-01270-ACR          Document 31-1        Filed 05/22/25     Page 9 of 15

                        FY25 Reduction in Force FAQs
                                            May 2025
       To enroll in FEHB under the TCC option, submit the SF 2809 Election Form to
       ochco-hrms-benefits@hq.dhs.govwithin 60 days after the date of your separation or 65 days
       after the date of your separation letter, whichever is later. Once processed, a certified
       enrollee copy will be returned to the address indicated on the SF-2809. This copy will serve as
       proof of enrollment until you receive your insurance cards.


Q14. If all FSA funds are used prior to a separation date, are employees required to pay
     it back? Can they still use the total amount in their healthcare FSA or just the
     amount that has been deducted from paychecks thus far? Will employees receive
     a bill if they’ve claimed more than has been deducted?
A14. Your Health Care FSA participation (HCFSA or LEX HCFSA) will terminate on the date of your
     separation. Any eligible health care expenses incurred on or before the date of your
     separation can be reimbursed, but expenses incurred after the date of separation will not be
     reimbursed. Your Dependent Care FSA account balance at the time of separation can be used
     to claim reimbursement for eligible expenses incurred before or after your separation, up to
     the end of the Plan Year (ending on December 31).

       For additional information log into your FSAFEDS account at http://www.fsafeds.gov or
       contact FSA Customer Service at 1-877-372-3337.


Q15. What is the process to request the 31-day extension for FEHB?
A15. FEHB enrollment will end on the last day of the pay period in which you separate from Federal
     service; however, your health insurance coverage, for you and your covered family members,
     will be automatically extended for 31-days – at no cost to you.


Q16. What is the difference between TCC (Temporary Continuation of Coverage) and
     individual contracts for insurance??
A16. TCC is coverage you can keep through NFC for up to 18-months following the discontinuation
     of federal service. An individual policy is secured completely outside of the government
     benefits program, through the insurance provider of your choice.



LIFE INSURANCE

Q17. What happens to FEGLI after separation if employees are not retiring?
A17. FEGLI enrollment will end on the day of separation from Federal service; however, life
     insurance coverage will be automatically extended for 31- days – at no cost.


Q18. Can employees cash out on their life insurance policy?
A18. FEGLI (Federal Employees' Group Life Insurance) is a group term life insurance that does not
     build up cash value. It cannot be borrowed against or cashed out.
     Case 1:25-cv-01270-ACR          Document 31-1       Filed 05/22/25      Page 10 of 15

                         FY25 Reduction in Force FAQs
                                            May 2025


Q19. Can employees roll FEGLI over to a different policy?
A19. When FEGLI group life insurance coverage terminates involuntarily, you can convert your
     coverage to a non-FEGLI individual life insurance policy with a private insurance company. If
     you have reemployment rights under the Uniformed Services Employment and
     Reemployment Rights Act of 1994 (USERRA), you can keep your FEGLI coverage for up to 24
     months in nonpaid status, or until 90 days after your military service ends, whichever is
     earlier. The requirements for continuing your FEGLI life insurance into retirement are
     explained in the FEGLI Handbook.


SEVERANCE PAY

Q20. If a separation date is in the middle of a pay period, how does that impact pay and leave
      accrued for that pay period?
A20. You will be paid for each day you are in administrative leave status up until your separation
      date. Leave is not accrued unless you are in paid status (i.e., administrative leave) for the
      entire pay period (80 hours).


Q21. When will severance pay begin?
A21. DHS HQ expects severance payments to begin 2-4 weeks after separation however, due to the
     high volume of separation actions, severance payments may be delayed. Severance payments
     are disbursed on a bi-weekly basis.


Q22. Is severance pay affected by work in the private sector that is accepted and begun after May
      23?
A23. No, your severance package will not be impacted by work in the private sector.


Q23. When employees receive severance payments, are deductions made for Retirement, for TSP
      for FSAs, etc.?
 A23. Only taxes are withheld from severance payments. Once you are no longer employed by the
      federal government, you are not eligible to participate in retirement contributions, TSP or FSA.


Q24. Is severance based on Annual Pay + Locality?
A24. The amount is computed using the employee’s rate of basic pay + locality at the time of
      separation, years of creditable service, and an age adjustment allowance, if over 40 years. See
      the OPM Fact Sheet for more information: Severance Pay FAQs


Q25. If employees receive their full severance payout and later find a federal position or are
      reinstated, do they need to reimburse or payback their severance?
A25. You do not need to repay severance if you return to federal service after the full severance
      amount has been paid. If you return to federal service while still receiving severance
     Case 1:25-cv-01270-ACR          Document 31-1        Filed 05/22/25     Page 11 of 15

                         FY25 Reduction in Force FAQs
                                             May 2025
       payments, you must notify our payroll oﬃce at eopfrequest@hq.dhs.gov so that severance
       payments can be stopped.


Q26. Are there any affirmative steps employees must take (other than satisfying the eligibility
      criteria) in order to be qualified for severance?
A26. There are no additional steps required to receive severance once you have been deemed
     eligible and received a severance estimation letter.


Q27. Is there a waiting period to return to government service to ensure severance pay is not
      forfeited?
A27. You would need to be separated for the full duration listed on your severance letter to receive
      the full amount aﬀorded to you.


Q28. If employees bought back their military time would that add to their severance pay?
A28. Military time bought back does not count toward severance calculations per 5 CFR Part
      550.70.


Q29. Are there any instances in which severance payments are owed back to federal
     government?
A29. If you accept a federal position prior to the entire severance payment being paid and do not
     notify our payroll office, you may be required to repay any amounts received after you began
     your new federal position.


Q30. Are taxes removed from leave payouts or is that handled personally?
A30. Taxes will be withheld from severance payments. You are advised to speak with your tax
     professional if you have additional questions.


Q31. Does severance pay zero-out years of service? For example, if an employee returns to
     federal service will they have to start over or “buy back” their time, or will it resume from
     where they left off?
A31. No, your years of service remain intact following severance.


Q32. How long is severance pay paid?
A32. Each timeframe is individually calculated. Please refer to your severance letter for details.


Q33. Will taking severance negate retirement eligibility?
A33. Accepting severance does not negate your ability to receive retirement beneﬁts at a later date.
     Case 1:25-cv-01270-ACR          Document 31-1        Filed 05/22/25      Page 12 of 15

                         FY25 Reduction in Force FAQs
                                             May 2025
Q34. What happens if a federal job offer is declined after separation? Would that cause a
     forfeiture benefits and severance?
A34. There is no impact to declining oﬀers of federal employment while receiving severance.


UNEMPLOYMENT
Q35. Can employees claim unemployment while waiting for retirement to start?
A35. Yes, you can generally receive unemployment benefits while waiting for your retirement to
     officially start, especially if you are near retirement age and were
     unemployed. Unemployment benefits are based on your work history and the reason for
     your unemployment. The individual will need to meet specific eligibility requirements to
     receive unemployment, which usually involves proving the individual lost their job
     involuntarily and are actively seeking work, but we suggest referring to your own state laws
     and regulations for further information.


Q36. How do separated employees apply for unemployment?
A36. To receive unemployment insurance benefits, you need to file a claim with the unemployment
     insurance program in the state where you worked. Depending on the state, claims may be
     filed in person, by telephone, or online. You should contact your state's unemployment
     insurance program as soon as possible after becoming unemployed. How Do I File for
     Unemployment Insurance? | U.S. Department of Labor


Q37. When do separated employees become eligible for unemployment?
A37. Involuntarily separated employees should apply for unemployment beneﬁts as soon as you
     become unemployed (i.e., your date of separation from federal service). You must have been
     unemployed through no fault of your own and you must meet your state’s work and wages
     earned requirements.


Q38. Can separated employees receive unemployment and severance payments simultaneously?
A38. You can collect unemployment and severance payments simultaneously, but it depends on the
     type of severance and the state you are applying for beneﬁts.
     www.unemploymentcalculator.org



LEAVE

Q39. What happens to sick leave balances after separation?
A39. Sick leave is held until you either return to federal service when it would be reinstated, or it
     will be added to your time for retirement annuity calculations. Sick leave is not eligible for
     lump sum payout.
      Case 1:25-cv-01270-ACR         Document 31-1        Filed 05/22/25      Page 13 of 15

                         FY25 Reduction in Force FAQs
                                             May 2025
Q40. How will annual leave lump sum payments be taxed?
A40. Federal Income Tax (Varies by income)
     State Income Tax (Varies by income and state)
     Social Security Tax (6.2%)
     Medicare Tax (1.45%)


Q41. Can employees donate annual leave to others to help them meet retirement eligibility
     thresholds?
A41. No programs currently exist to allow employees to donate leave outside of the VLTP, which has
     very speciﬁc personal/medical emergency requirements for participation. Employees may
     donate unused annual leave to the VLTP prior to separation, but it will not assist with
     retirement eligibility thresholds.



CTAP/ICTAP/RPL
Q42. When will ITCAP reflect on SF-50s?
A42. CTAP/ICTAP status will not reﬂect on an SF-50. Your RIF letter serves as proof of eligibility when
     applying for federal positions.


Q43. Does the information on a RIF letter impact CTAP/ICTAP/RPL eligibility?
A43. The information on your RIF letter identiﬁes the Area of Consideration for your
     CTAP/ICTAP/RPL eligibility. This will determine which locality you will be eligible for job
     placement (i.e., Washington, DC; Denver, CO; etc.)



SCD

Q44. What is the purpose of the Adjusted SCD?
A44. Adjusted SCD identifies your retention position if there is a reduction in force in your agency or
     department and reassignments (aka “Bump and Retreat) take place. For the purposes of the
     RIF of CISOMB, CRCL and OIDO, there are no reassignment opportunities as the entirety of the
     offices were eliminated.

Q45. If there is a change to an employee’s reemployment rights, such as eligibility for veterans'
      preference or placement on the Reemployment Priority List, will a revised RIF notice be
      issued?
A45. Yes. If it is determined that your specific Reduction in Force (RIF) notice affects your

       reemployment rights—such as eligibility for veterans' preference, your type of service (e.g.,
       competitive, excepted), or your placement on the Reemployment Priority List—your specific
       RIF notice may be updated to reflect these changes. In accordance with Office of Personnel
       Management (OPM) guidance, you must receive a full 60-day notice based on the updated
       information, which may extend your original notice period.
    Case 1:25-cv-01270-ACR          Document 31-1        Filed 05/22/25     Page 14 of 15

                        FY25 Reduction in Force FAQs
                                            May 2025
Q46. If a Service Computation Date (SCD) is corrected after a Reduction in Force (RIF) notice has
     been issued, will a new notice be provided, and will the notice period be extended?
A46. If a Service Computation Date (SCD) is corrected after the issuance of a specific Reduction in
     Force (RIF) notice, a revised notice will be issued to reflect the corrected information.
     However, the separation date will generally not be extended beyond the original separation
     date. If the corrected notice results in a notice period of 30 days or from the separation date,
     in such case an extension of 30 days may be granted.


MISC


Q47: What is the final date of salary payment after the effective date of separation?

A47: Your final date of salary payment will be the effective date of your separation from federal
     service. For example, if your separation date is May 23, 2025, your final payment will be
     issued on the first Friday of week 1 in Pay Period 10 CY2025. Please note that this will be a
     partial payment since you will have only worked one week, and no leave will be accrued if
     separation occurs in the middle of a pay period. Leave is only accrued when a full 80-hour pay
     period is completed. Employees with later separation dates will receive their final pay in
     accordance with the current pay schedule, depending on the specific date and pay period of
     separation.


Q48. How should government equipment be returned?
A48. Badge and Equipment Drop-Off:
       o Representatives from both the Office of the Chief Security Office (OCSO) and the Office of
         the Chief Information Officer (OCIO) will be available to collect equipment and PIV cards.
       o CSO will collect all IC badges, RSA tokens, and B LAN devices.
       o Shipping labels will be provided to remote employees to return their government-issued
         equipment. If you have not received your label, please call the Help Desk at 1-800-250-
         7911 and request to open a Return Hardware Ticket.

       Employees are only required to return government-issued credentials, PIV cards, PCs, mobile
       phones, RSA tokens, and other inventoried items. Docking stations and monitors do not need
       to be returned.


Q49. Are employees on administrative leave able to participate in federally sponsored training/
     skills development?
A49. Employees are not permitted to work while in Administrative Leave status, which includes
     training. Therefore, you would not be able to engage in any federally sponsored training
     activities prior to separation.
    Case 1:25-cv-01270-ACR           Document 31-1    Filed 05/22/25     Page 15 of 15

                         FY25 Reduction in Force FAQs
                                          May 2025
Q50. How can copies of eOPF files be obtained after removal from network access?
A50. If you no longer have access to the DHS network and need a copy of your eOPF, please email
     eopfrequest@hq.dhs.gov, and indicate that you no longer have the ability to access your eOPF
     yourself because you have separated from government service, along with your requested
     documents.


Q51. How can more information regarding the competitive areas and decisions regarding the RIF
     of CISOMB, CRCL and OIDO be obtained.
A51. To request information regarding the specific or legal process surrounding your RIF, we
     encourage you to reference the DHS Freedom of Information website at Make a FOIA Request |
      Office of Inspector General.
